
Pennington J.
— ‘The state of demand charges the defendant below with two notes of hand, and an accepted order set out, I think, with sufficient certainty On the return day of the summons, the parties appeared, and the re- , cord says that the justice examined the cause, and gave judgment for the plaintiff. It does not appear that any witnesses were examined in the cause. This court, in cases resembling the present, have reversed the judgment where the judgment was rendered by default in the absence of the defendant. But in this case, the defendant was present; he may have admitted the signature to the notes and acceptance. I think it would be going farther [*] than the circunstances of the case calls for, to presume that the justice, under the circumstances of this case, rendered judgment without evidence; and am of opinion that this judgment should be affirmed.
Kirkpatrick, C. J.
— Where the defendant has not appeared, and no witness has been sworn, we have reversed, because it cannot, in that case, be conceived that the plaintiff’s demand is lawfully established. But where the defendant has appeared, we have rather presumed that he may have made admissions, than that the justice should have rendered judgment without having the matter of fact fully established. Upon this principle, let this judgment be affirmed.
Rossnx, J. — Was of the same opinion.
Judgment reversed.
